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 Erik LeRoy, attorney
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 Anchorage, Alaska 99501
 (907) 570-7474


                    IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF ALASKA

In re:                                           :
                                                 :
WILLIAM CLAUDE ABERCROMBIE                       :      Case No. A18-00135
                                                 :      Chapter 7
                     Debtor                      :
                                                 :


           DECLARATION OF ERIK LEROY IN SUPPORT OF APPLICATION
                    BY TRUSTEE TO EMPLOY ATTORNEY

              I, Erik LeRoy, declare under penalty of perjury that the following

representations are true and correct to the best of my knowledge and belief:

              1. I am the attorney who Kenneth Battley, trustee, desires to employ for

the purpose of assisting and representing him in this case.

              2. I have no interest and represent no interest adverse to this estate. I

have no material connection to the debtor, the creditors, or other parties in interest,

including any employees of the Office of the U.S. Trustee, their respective attorneys or

accountants, other than my representation of Development Services Group, Inc. in this

bankruptcy. I have filed a Notice of Withdrawal of my representation of Development

Services Group, Inc. It is the Trustee’s intention to sell the real property in Georgia and

to distribute the proceeds of the sale to the creditors, which is the result Development

Services Group, Inc. pursued in this case. The interests of Development Services

Group, Inc. represent more than 95% of the value of the claims in this case.
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                 3.     My sole arrangement for compensation is to be paid fees at my

normal hourly rate, at this time, $350 an hour, as approved by the court.

                 4. I am a disinterested person in this case as defined by U.S.C.

§101(14)(A-C).




December 20, 2018                                /s/ Erik LeRoy
                                                 Erik LeRoy, P.C.




                                           Certificate of Service

I certify that on December 20, 2018, a copy of this pleading was served on

U S Trustee
Debtor (Gazewood)

by first class mail if an address in indicated above, or by electronic means through the ECF system as
indicated on the Notice of Electronic Filing.


Erik LeRoy

/s/ Erik LeRoy
